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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-4076


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        TREVOR DEAN WILLIAMS,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Southern District of West Virginia, at
        Huntington. Robert C. Chambers, District Judge. (3:22-cr-00152-1)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        ON BRIEF: Brian J. Kornbrath, Federal Public Defender, OFFICE OF THE FEDERAL
        PUBLIC DEFENDER, Clarksburg, West Virginia, for Appellant. William S. Thompson,
        United States Attorney, Charleston, West Virginia, Courtney L. Finney, Assistant United
        States Attorney, OFFICE OF THE UNITED STATES ATTORNEY, Huntington, West
        Virginia, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

                  Trevor Dean Williams pled guilty to being a felon in possession of a firearm, in

        violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2) (2018). 1 The district court sentenced

        Williams to 120 months’ imprisonment. Williams appeals. Williams’ attorney has filed a

        brief pursuant to Anders v. California, 386 U.S. 738 (1967), stating that there are no

        meritorious issues for appeal, but questioning the district court’s computation of Williams’

        sentence and its denial of Williams’ request for a downward variance sentence. 2 Although

        advised of his right to file a pro se supplemental brief, Williams has not filed a brief. We

        affirm.

                  We review “all sentences—whether inside, just outside, or significantly outside the

        Guidelines range—under a deferential abuse-of-discretion standard.” United States v.

        Torres-Reyes, 952 F.3d 147, 151 (4th Cir. 2020) (cleaned up). First, we must determine

        whether the sentence is procedurally reasonable. United States v. Nance, 957 F.3d 204,

        212 (4th Cir. 2020). “A sentence based on an improperly calculated Guidelines range is



                 Section 924(a)(2) was amended and no longer provides the penalty for § 922(g)
                  1

        convictions. See Bipartisan Safer Communities Act, Pub. L. No. 117-159, § 12004(c), 136
        Stat. 1313, 1329 (2022). The new penalty provision does not apply in this case, however,
        because Williams committed his offense before the June 25, 2022, amendment to the
        statute.

                  After the briefing period expired, counsel moved for leave to file a supplemental
                  2

        brief to raise a challenge to the constitutionality of § 922(g) following the Supreme Court’s
        decision in New York State Rifle &amp; Pistol Ass’n v. Bruen, 597 U.S. 1 (2022). He has since
        conceded that this argument is foreclosed by our recent decision in United States v.
        Canada, 103 F.4th 257 (4th Cir. 2024). Although we grant leave to file the supplemental
        brief, we agree with counsel that Canada, in which we squarely rejected a challenge to the
        facial constitutionality of § 922(g), id. at 258-59, forecloses this claim.

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        procedurally unreasonable.” United States v. Shephard, 892 F.3d 666, 670 (4th Cir. 2018).

        “In assessing whether a district court properly calculated the Guidelines range, including

        its application of any sentencing enhancements, [we] review[ ] the district court’s legal

        conclusions de novo and its factual findings for clear error.” United States v. Pena, 952

        F.3d 503, 512 (4th Cir. 2020) (internal quotation marks omitted). We “will conclude that

        the ruling of the district court is clearly erroneous only when, after reviewing all the

        evidence, we are left with the definite and firm conviction that a mistake has been

        committed.” United States v. Steffen, 741 F.3d 411, 415 (4th Cir. 2013) (internal quotation

        marks omitted).

               Our review of the record convinces us that the district court did not plainly err in

        assigning Williams a base offense level of 24 due to his having committed this § 922(g)

        offense after sustaining two prior felony convictions for a crime of violence or a controlled

        substance offense based on his prior convictions in Kentucky for second degree assault,

        Ky. Rev. Stat. Ann. § 508.020 (West 2024), and for trafficking in controlled substances in

        the first degree, Ky. Rev. Stat. Ann. § 218A.1412 (West 2024). See U.S. Sentencing

        Guidelines Manual § 4B1.2(a)(1); see also United States v. Collins, 799 F.3d 554, 597 (6th

        Cir. 2015) (finding no error in considering Kentucky conviction for second degree assault

        a crime of violence). Nor did the district court plainly err by increasing Williams’ offense

        level by two levels for possessing a stolen firearm, USSG § 2K2.1(b)(4)(A), or by two

        levels for possessing three or more firearms, USSG § 2K2.1(b)(1)(A). See United States v.

        Horsley, 105 F.4th 193, 219 (4th Cir. 2024) (providing standard).



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               Williams challenges the enhancement to his offense level for possession of a firearm

        in connection with a felony offense. A defendant faces a four-level enhancement if he

        “used or possessed any firearm or ammunition in connection with another felony offense.”

        USSG § 2K2.1(b)(6)(B). A firearm is possessed in connection with another felony offense

        if it “facilitated, or had the potential of facilitating, another felony offense.” USSG § 2K2.1

        cmt. n.14(A); see United States v. McKenzie-Gude, 671 F.3d 452, 463-64 (4th Cir. 2011).

        “This requirement is satisfied if the firearm had some purpose or effect with respect to the

        other offense, including if the firearm was present for protection or to embolden the actor.”

        McKenzie-Gude, 671 F.3d at 464 (internal quotation marks omitted). We conclude that the

        district court did not clearly err here.     There was sufficient evidence to apply the

        enhancement due to Williams’ statements to the police officers as well as the drug

        paraphernalia found in Williams’ apartment where the firearms were also found. See

        USSG § 2K2.1 cmt. n.14(B) (when “a firearm is found in close proximity to drugs, drug-

        manufacturing materials, or drug paraphernalia,” the firearm necessarily “has the potential

        of facilitating another felony offense”).

               Williams also questions the propriety of adding separate criminal history points for

        each of two prior sentences that were imposed on the same day. Because the prior

        sentences were “imposed for offenses that were separated by an intervening arrest,” USSG

        § 4A1.2(a)(2), the district court appropriately counted the sentences separately, United

        States v. Stuart, 1 F.4th 326, 331 (4th Cir. 2021).

               Accordingly, we conclude that the district court correctly computed Williams’ total

        offense level and his criminal history category and correctly determined that his advisory

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        Guidelines range was 120 months. See USSG § 5G1.1(a) (providing that, where applicable

        Guidelines range exceeds the statutory maximum, the statutory maximum “shall be the

        [G]uideline[s] range”). We further conclude that Williams’ sentence is both procedurally

        and substantively reasonable. After calculated the applicable advisory Guidelines range,

        the court considered the parties’ sentencing arguments and adequately explained its reasons

        for the sentence imposed. The district court considered Williams’ arguments in favor of a

        downward variance, but found that, upon its consideration of the sentencing factors—

        especially the nature of the offense and Williams’ history and characteristics—a sentence

        of 120 months’ imprisonment was appropriate to satisfy the sentencing goals of 18 U.S.C.

        § 3553(a). We conclude that the district court did not err or abuse its discretion in

        sentencing Williams.

               In accordance with Anders, we have reviewed the entire record in this case and have

        found no meritorious issues for appeal. We therefore affirm the district court’s judgment.

        This court requires that counsel inform Williams, in writing, of the right to petition the

        Supreme Court of the United States for further review. If Williams requests that a petition

        be filed, but counsel believes that such a petition would be frivolous, then counsel may

        move in this court for leave to withdraw from representation. Counsel’s motion must state

        that a copy thereof was served on Williams. We dispense with oral argument because the

        facts and legal contentions are adequately presented in the materials before this court and

        argument would not aid the decisional process.

                                                                                      AFFIRMED



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